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                     UNITED STATES DISTRICT COURT
                       DISTRICT OF CONNECTICUT

                                       :
UNITED STATES OF AMERICA,              :
                                       :
                                       :
                v.                     :      S3 No. 15-cr-00155 (RNC)
                                       :
ROSS SHAPIRO,                          :
MICHAEL GRAMINS and                    :      April 6, 2017
TYLER PETERS                           :
                                       :
                                       :

     DEFENDANTS’ MEMORANDUM OF LAW IN OPPOSITION TO THE
  GOVERNMENT’S OMNIBUS TRIAL MEMORANDUM AND SUPPLEMENTAL
           SUBMISSION REGARDING MOTIONS IN LIMINE




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          Defendants Ross Shapiro, Michael Gramins and Tyler Peters respectfully submit this

memorandum of law in opposition to the government’s omnibus trial memorandum. See Dkt.

329 (“Gov’t Tr. Mem.”).1

I.        THE GOVERNMENT’S SUPPLEMENTAL SUBMISSION REGARDING
          DEFENDANTS’ MOTIONS IN LIMINE IS DEFICIENT, AND DEFENDANTS’
          MOTIONS IN LIMINE SHOULD BE GRANTED

          A. Evidence of Defendants’ Compensation Should Be Excluded

          The government’s proffer as to why it intends to offer evidence of defendants’ annual

compensation figures underscores the irrelevance and prejudicial nature of this evidence. The

government asserts that the admission of such evidence would help establish: (i) defendants’

motive, (ii) the hierarchy of Nomura’s RMBS desk, and (iii) the existence of a conspiracy.

However, the government’s proffer fails to establish any connection between this evidence and

these purported objectives. Accordingly, this evidence should be precluded, not only because it

is irrelevant, but also because it carries a significant risk of unduly prejudicing defendants by

inflaming and distracting the jury. See, e.g., United States v. Litvak, No. 3:13-CR-19 (D. Conn.),

12/6/2016 Hr’g Tr. at 42 (Judge Hall indicating her intent to preclude evidence of Litvak’s

compensation, stating, “there’s no way you are introducing his W-2 unless you have drawn some

connection between the information on the W-2 and the scheme at issue in this case.”) (emphasis

added).

                 1.       Motive

          The government proffers that certain junior RMBS traders and trading supervisor

Jonathan Raiff will testify that defendants engaged in the alleged conduct for the purpose of


1
  The government’s trial memorandum identifies seven “relevant issues” for the Court’s consideration. See Dkt. 329
at 1. Defendants address six of these issues herein. With respect to the last issue—references to the conduct and
indictment of Jesse Litvak—defendants rely on Mr. Shapiro’s prior briefing on this issue, submitted on March 29,
2017, in which Messrs. Gramins and Peters join. See Dkt. 328 at 14-16.

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increasing the profits of the RMBS desk, and, therefore, their own compensation, which was

based in part on the desk’s profits. But this proffer, even if assumed true for present purposes,

fails to support the government’s argument that the amount of defendants’ compensation is

relevant evidence. See Aristocrat Leisure Ltd. v. Deutsche Bank Trust Co. Ams., No. 04 Civ.

10014 (PKL), 2009 WL 3111766, at *6-7 (S.D.N.Y. Sept. 28, 2009) (excluding information of

defendants’ compensation, other than the method of compensation, because any limited

probative value outweighed by potential to bias jury under Rule 403). Mr. Raiff’s proffered

testimony would permit the government to argue that defendants engaged in the alleged conduct

for the purpose of increasing their compensation without the need to reference the amount of

such compensation. For this reason alone the government should be precluded from offering

evidence of defendants’ compensation figures.

         Moreover, the government’s claim that the proffered testimony would tend to show that

defendants were motivated by profit to engage in alleged criminal conduct is baseless. First, the

revenue generated by the alleged conduct increased the desk’s profits by no more than

approximately 1%,2 so any claim that defendants were motivated by the prospect of increasing

the desk’s overall profits defies common sense. Second, there is no evidence as to what

percentage, if any, of defendants’ compensation is purportedly attributable to this 1% increase in

the desk’s profits. Third, there were years in which the defendants received fixed, pre-

determined compensation pursuant to employment contracts (as explained in defendants’

memorandum supporting their motion in limine (Dkt. 161 at 4)) which controverts the claim that

defendants’ compensation was dependent, in any respect, on desk profitability during such years.

2
 The profits resulting from the alleged conduct relating to the 20 trades at issue in this case total approximately
$3.85 million. The profits of the RMBS desk in the relevant period totaled approximately $360 million, the vast
bulk of which resulted from long-term “buying and holding” of RMBS securities. The defense intends to offer
evidence of the foregoing, in part, to rebut the government’s assertion that defendants were motivated by profit.


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Given the government’s inability to link defendants’ total compensation figures to the allegedly

unlawful profits associated with any of the charged trades, the government cannot establish that

compensation is relevant proof of motive in this case, and, in any event, the unfair prejudice of

such evidence far outweighs any minimal relevance that might be conjured.3 See United States

v. Ferguson, No. 3:06 Cr. 137 (CFD), 2007 WL 4240782, at *1 (D. Conn. Nov. 30, 2007)

(excluding evidence of defendant’s salary and bonuses because they were “irrelevant to the

charges against him” and permitting only evidence of deferred compensation plan with a direct

causal link to scheme); L-3 Commc’ns Corp. v. OSI Sys., No. 02 Civ. 9144 (PAC), 2006 WL

988143, at *6 (S.D.N.Y. Apr. 13, 2006) (granting motion in limine to exclude evidence of wealth

and lifestyle because information was irrelevant and would be unfairly prejudicial under Rule

403).4 Accordingly, evidence of the defendants’ compensation cannot be admitted on this basis.

                  2.        Hierarchy and Organization Structure

         Concerning the hierarchy and relative seniority of members of Nomura’s RMBS desk,

introducing evidence of the defendants’ annual compensation is an unduly prejudicial method by

3
  In Litvak the government presented evidence that the defendant’s compensation was tied in a direct way to the
profitability of his trading (see Trial Tr. at 1932-33, United States v. Litvak, No. 3:13-CR-19 (D. Conn. Feb. 20,
2014) (testimony that “5 to 12 percent” of the yearly profits attributable to Litvak’s trades would be paid to him as a
year-end bonus)), and yet Judge Hall still excluded compensation evidence. No such testimony can be elicited by
the government in the present case because Nomura did not distribute bonuses or compensation according to any
such profit-recognizing calculation.
4
  The cases cited by the government are inapposite. First, those cases stand only for the narrow proposition that, in
certain specific circumstances where a defendant’s income is directly correlated to the alleged crime, it may not be
an abuse of discretion to admit evidence of compensation, despite the inherent prejudice. See United States v.
Quattrone, 441 F.3d 153, 187 (2d Cir. 2006) (acknowledging that “evidence of compensation, wealth, or lack
thereof can unduly prejudice jury deliberations . . . [but we] cannot say that the district court acted so far outside the
range of reasonable decision-making in admitting this evidence that it abused its discretion”); United States v.
Logan, 250 F.3d 350, 369 (6th Cir. 2001) (finding defendants’ income relevant because they were “sole
shareholders” of corporation that was selling fraudulent loans to the government, thus their total income “was
necessarily dependent” on their misrepresentations regarding loan delinquencies); United States v. Weiss, 914 F.2d
1514, 1523-24 (2d Cir. 1990) (permitting evidence of income only because it was “relevant to the issue of
credibility” after defendant had understated his salary during testimony and “sought to portray himself and his
family as virtually indigent”). None of these cases support the government’s overly broad contention that
defendants’ total compensation should be admitted simply because they could allegedly earn more money by
committing fraud.


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which to prove such a simple proposition. First, defendants do not dispute the relative seniority

of the defendants versus other members of the RMBS desk (i.e., that Mr. Shapiro oversaw the

RMBS desk or that Mr. Gramins and Mr. Peters were the next most senior traders beneath him).

The fact that the defense may seek to establish that other members of the trading desk, including

Alejandro Feely, were independent, autonomous, and routinely negotiated trades without direct

supervision, regardless of their relative seniority, does not entitle the government to introduce

evidence relating to compensation, as such evidence is not sufficiently probative of those issues.

Second, the government can readily establish the organizational hierarchy of the members of the

RMBS desk by other, less prejudicial, means than through compensation figures, such as

organizational charts, or testimony from Mr. Raiff or other members of the RMBS desk. Third,

there is no basis for presuming, as the government does, that defendants’ higher compensation

reflects their “greater culpability.” To the contrary, as noted above, substantially all of the desk’s

profits were not derived from the alleged trading activity.5 Thus, the minimal relevance of

defendants’ total compensation to issues of hierarchy and organizational reporting at Nomura is

far outweighed by its significant prejudice to the defendants.

                  3.       Evidence of Alleged Conspiracy

         Finally, total compensation is an irrelevant and completely inappropriate method to

attempt to prove the alleged conspiracy. The government proffers that “Jonathan Raiff will

testify that Ross Shapiro was the primary decision maker in determining how the bonus pool . . .

would be split” and that Shapiro “had significant control over the compensation.” Gov’t Tr.

Mem. at 6. Even accepting these statements as true for present purposes, such testimony does

not establish the relevance of the total compensation earned by defendants.

5
 Furthermore, the claim that the alleged trading activity yielded any increase in the desk’s profits presumes
defendants could not have achieved the same profits through different negotiation tactics. We anticipate the
evidence will refute this presumption.

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       In sum, nothing in the government’s supplemental briefing remedies the government’s

inability to link defendants’ total compensation to the charged trades, as described in defendants’

motion in limine. See Ferguson, 2007 WL 4240782, at *1 (excluding evidence of defendant’s

salary and bonuses because “evidence of [defendant’s] AIG salary and bonuses is not probative

of [his] financial motives”). And, even if the government could establish such a link, the

admission of total compensation figures with limited (if any) probative value would be unduly

prejudicial – indeed, inflammatory. This evidence should accordingly be excluded.

       B. Evidence of the Identity of Passive Investors and the PPIP Program Should Be
          Excluded

       In its most recent submission, the government restates its intent to introduce evidence that

identifies certain passive investors in the alleged victim institutions. Given that those passive

investors include the Department of Treasury, pension funds, and charitable endowments, the

Court stated at a September 2016 hearing that it saw “no reason to disclose the identities” of

these investors, because “evidence of this nature could pose a risk of unfair prejudice in that it

would suggest to the jury that members of the public were harmed.” See 9/2/2016 Hr’g Tr. at

43-45. Because the government fails to proffer any substantive new evidence to support its

position, the identity of such passive investors should be precluded.

               1.      The Identity of Passive Investors Is Irrelevant to the Question of
                       Whether Nomura’s Counterparties Were Reasonable Investors

       The government contends that the passive investors it wishes to identify at trial all

constitute “highly sophisticated and exceedingly careful” entities, and that one could reasonably

infer that such entities would only invest their money with a reasonable investor, like the victim

institutions. Gov’t Tr. Mem. at 8. This argument is specious. First, the government’s

conclusion that Nomura’s counterparties were reasonable investors does not follow from its

premise that some of them may have managed money for pension funds, charities, or
                                                  5
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universities. The sophistication of the passive investors sheds no light on whether individuals at

the victim institutions, charged with making investment decisions, acted in accord with the

standards of the reasonable investor. Indeed, Bernard Madoff managed money for some of the

country’s leading financial, charitable, and educational institutions,6 but one could not argue that

the sophistication of such passive investors shows that Mr. Madoff was a reasonable investor.

        Second, the fact that representatives from the passive investor entities are not on the

government’s witness list and will not testify as to any diligence conducted by the counterparties

further underscores the weakness of the government’s application. There will be ample evidence

from individuals employed at the victim institutions regarding their investment approach and the

sophistication of their investment process. By contrast, the identity of passive investors adds

nothing to this assessment and is, in any event, confusing and prejudicial.

        Third, even if the Court were to agree with the government that the sophistication of

these passive investors is relevant to assessing whether the counterparties were reasonable

investors, there is no reason to permit the government to elicit the explicit testimony that the

passive investors included pension funds, endowments, mutual funds, and government

funds. The government could readily establish the sophistication of these passive investors by

eliciting testimony that they included hedge funds, sovereign wealth funds, and insurance

companies. Noting that the passive investors included pension funds, endowments, mutual

funds, and government funds carries an undue risk that jurors will improperly perceive their own

interests as intertwined with those of the passive investors. The government should not be

permitted to elicit this type of inflammatory and irrelevant testimony.




6
 Madoff’s Victims, WALL ST. J., Mar. 6, 2009,
http://s.wsj.net/public/resources/documents/st_madoff_victims_20081215.html.

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                    2.       The Identity of Passive Investors Is Not Probative of Materiality

           The government also claims the identity of passive investors is probative of the

materiality of the alleged misrepresentations because the identity of particular passive investors

in a fund affected the behavior of Nomura’s counterparties. See Gov’t Tr. Mem. at 8. This

argument is baseless. For example, the government proffers that Putnam’s representative and

HIMCO’s representative will testify that the identity of their clients affected their trading

decisions. See Gov’t Tr. Mem. at 9. From its brief, it is not clear whether the government is

proffering that these witnesses will testify that the care they took in making an investment

decision varied depending on the investor to whom their employers owed fiduciary duties. If so,

we doubt the soundness of the proffer. Indeed, there is no reason why these witnesses cannot

offer this testimony without specifying that their clients included pension funds or charitable

endowments. In any event, the negligible additional probative value of such testimony is heavily

outweighed by the prejudicial, inflammatory nature of this extraneous information.

           The government also repeats, without any new proffer of evidence, the arguments made

in its July 2016 opposition brief that evidence of the PPIP program is probative of materiality

with respect to Alliance Bernstein, a counterparty of Nomura’s that managed a PPIF fund. See

Gov’t Opp. (Dkt. 178); see also 10/26/2016 Hr’g Tr. at 84:8 (Court: “[W]ith the testimony

concerning the PPIP program generally and how it bears on materiality, I’d like to see an

indication of what you have in mind.”). For the reasons stated in defendants’ prior submissions

on this issue,7 the government should not be permitted to elicit such testimony from the proposed

Alliance Bernstein witnesses.




7
    See Def. Supp. Br. (Dkt. 252) at 1-5.


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           Notably, the government has failed to proffer any new evidence to show that the PPIP

managers did anything differently with respect to PPIP funds as opposed to other investor funds

in terms of (i) analyzing RMBS for investment and (ii) trading and investing in RMBS. See Trial

Tr. at 606:1-7, United States v. Litvak, No. 3:13-CR-19 (D. Conn. Feb. 20, 2014) (testimony of

Michael Canter that managing a PPIF “was different [from managing a private fund] just in

terms of the amount of compliance rules and things like that, but the day-to-day functions are

similar.”). It was for these very reasons that the Second Circuit rejected the PPIP counts in the

case against Jesse Litvak. United States v. Litvak, 808 F.3d 160, 172-74 (2d Cir. 2015). Absent

a proffer of new evidence that the PPIP program changed the process by which PPIF managers

made investment decisions, evidence of the PPIP program should be excluded as irrelevant,

confusing, and prejudicial.

           Nor does the government proffer any evidence, even with the benefit of a retrial in the

Litvak matter (including repeat testimony by Mr. Canter), that Mr. Canter’s concerns about a

Treasury report he might have to file (upon learning of Mr. Litvak’s misrepresentation to him)

relate in any way to his investment decision in that case, let alone in this one. See Def. Supp. Br.

(Dkt. 252 at 1-5). And, as this Court recognized, “[t]ypically we don’t have that kind of

testimony in a criminal case. That is that the person on the stand called the cops in some other

situation involving somebody else.” 10/26/2016 Tr. at 42:16-21. Accordingly, the proffered

evidence concerning Mr. Canter’s reaction to Mr. Litvak should be barred on grounds that it is

irrelevant, unnecessary, confusing, and unduly prejudicial.8




8
    This is all the more so given that Mr. Canter did not file a Treasury report with respect to defendants’ conduct here.

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II.    THE GOVERNMENT’S PROPOSED SUMMARY CHARTS SHOULD BE
       PRECLUDED AS ARGUMENTATIVE, MISLEADING, AND INCOMPLETE
       CHARACTERIZATIONS OF THE EVIDENCE

       The charts the government intends to offer to “summarize” communications surrounding

the trades at issue go far beyond the permissible bounds of Rule 1006 of the Federal Rules of

Evidence. Instead, the charts are an improper attempt to inject interim summations in

documentary form into the government’s case-in-chief and to secure a second summation after

the jury has begun to deliberate.

       The purpose of Rule 1006 is to permit the presentation at trial of a condensed version of

records that otherwise are so voluminous that a summary chart “offers the only practicable

means of making their contents available to judge and jury.” Fed. R. Evid. 1006, Advisory

Committee Notes (1972). Thus, “the case law is replete with numerous examples of Rule 1006

utilized to distill business records, tax records, phone records, or bank records” because “[t]his

type of concrete, mathematical, objective information is capable of accurate presentation in chart

or summary form.” United States v. Stone, 852 F. Supp. 2d 820, 828 (E.D. Mich. 2012). But

Rule 1006 does not provide, as the government would have it, an opportunity to pick and choose

excerpts of documents that favor one party’s case and present a highlight reel for the jury,

complete with all favorable inferences drawn in the proponent’s favor – all of that is for

summation. Furthermore, the government’s proposed summary charts are also improper on

grounds that they are misleading, incomplete, and mischaracterize the evidence. Accordingly,

the Court should not permit the government to admit the proposed charts as evidence during trial.

       The government proposes to admit two types of summary charts to prove the content of

various documents: (1) a series of charts containing summaries of the relevant communications

surrounding a trade at issue in order to highlight the “price-related statements in each of the chats



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and other communications in the particular exhibit series” (Gov’t Tr. Mem. at 15); and (2) “an

overarching summary chart” containing identifying information for each trade at issue, matched

with the government’s view of the supporting evidence by exhibit number and the charged

conduct (specific count or overt act) in the Indictment that the government will argue is proven

by that evidence (Gov’t Tr. Mem. at 17). Neither of these types of charts should be admitted into

evidence at trial.

        The government’s own description of its proposed charts makes clear that they do not fall

within the confines of Rule 1006. For example, the government wishes to introduce

“individualized summary charts culling together the relevant statements for each subject trade.”

Gov’t Tr. Mem. at 17. This case turns, however, on what relevance the defendants and the

alleged victims placed on statements during trade negotiations, and any “culling” by the

government of statements it deems irrelevant would inevitably interject bias into a summary of

the underlying communications. In other words, the government’s proposed charts will hand-

pick portions of evidence that will already be before the jury in different forms, with the

improper purpose of interjecting argument into what should be a typical and straightforward

presentation of evidence.

        The government’s proposed charts are not designed to streamline the presentation of data

for the jury, or even to eliminate the necessity of admitting certain evidence, as envisioned by

Rule 1006. Instead, they would provide a slanted, syllogistic map highlighting specific, cherry-

picked portions of the relevant evidence in an argumentative format that underscores the

government’s theory of the case. Such a misuse of Rule 1006 would be flatly improper. “Courts

have long required that district courts ascertain that summary charts ‘fairly represent and

summarize the evidence upon which they are based.’” United States v. Citron, 783 F.2d 307,



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316 (2d Cir. 1986). “Care must be taken to insure that summaries accurately reflect the contents

of the underlying documents and do not function as pedagogical devices that unfairly emphasize

part of the proponent’s proof or create the impression that disputed facts have been conclusively

established or that inferences have been directly proved.” United States v. Drougas, 748 F.2d 8,

25 (1st Cir. 1984) (chart summarizing “telephone traffic” of over 100 calls properly admitted)

(citing J. Weinstein and M. Berger, Weinstein’s Evidence § 1006 [07] (1983)). Unless the

requirement of fairness in representation and summary is met, “the chart is more likely to

confuse or mislead the jury than it is to assist it.” Citron, 783 F.2d 307. This “necessary

precondition” to the admission of a summary chart is particularly important when the chart is

based upon the government’s factual assumptions. United States v. Taylor, 210 F.3d 311, 315-

16 (5th Cir. 2000) (district court erred in admitting organizational chart that “did not accurately

reflect the underlying testimony”).

         In this case, the government’s proposed charts are, at most, “merely an aid to the fact-

finder’s understanding” of electronic chats that will already be admitted in full and extensively

reviewed with other witnesses on direct examination, “not evidence itself.” 9 United States v.

Bakker, 925 F.2d 728, 736 (4th Cir. 1991). In other words, the government intends to use its

charts to present interim summations in documentary form throughout its case-in-chief in order

to argue to the jury the inferences they should draw from the chats and other communications

about the defendants’ intent during each trade. This is plainly improper, and the Court should

not permit it. See, e.g., United States v. Yakobowicz, 427 F.3d 144, 151 (2d Cir. 2005) (“any

summation-like remarks by counsel during the presentation of evidence are improper and subject



9
 In fact, the government’s proposed summary charts of each trade will not subtract from, but rather add to, the
amount of information put before the jury, only the charts will be in the form of argument, rather than evidence.


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as a routine matter to being stricken” and constitute “structural error requiring reversal”); United

States v. Nuey, No. 05-4684 Cr., 2007 WL 2807880, at *1 (2d Cir. 2007) (finding that allowing

the government to “compare the birth dates and social security numbers among the documents

[in evidence] and . . . highlight[ing] both similarities and discrepancies” for the jury during trial

constituted error that the Court does “not condone”); see also United States v. Bray, 139 F.3d

1104, 1110 (6th Cir. 1998) (warning that charts must be “nonprejudicial and presented in a

“nonmisleading manner” because “a summary [chart] containing elements of argumentation

could very well be the functional equivalent of a mini-summation by the chart’s proponent every

time the jurors look at it during their deliberations”).

       Moreover, the government’s proposed “summary charts” omit a wealth of relevant

information contained in the underlying chat communications that strongly support the defense

theory of the case. The government proposes to summarize the information necessary to

highlight only the alleged misrepresentations while omitting from these chats virtually the entire

context surrounding the alleged misstatements, which bear on the legal element of materiality.

Not only is this approach improper under Rule 1006 for the reasons stated above, but it also fails

to comport with Federal Rule of Evidence 106, the “rule of completeness,” because it effectively

eliminates from the jury’s consideration the portions of the communications that “in fairness

ought to be considered at the same time.” Fed. R. Evid. 106. This attempt to present to the jury

those portions of the electronic chats most favorable to the government’s case in a summary

fashion, as if the other portions of the chats did not exist, is inaccurate, misleading, and should

not be countenanced. See United States v. Lopac, 411 F. Supp. 2d 350, 368-69 (S.D.N.Y. 2006)

(ordering new trial of defendant on the outer fringes of a conspiracy where a government




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summary chart that the court characterized as the most important piece of evidence in the case

was found to grossly overstate defendant’s involvement, knowledge and intentions).

         Furthermore, in addition to enabling impermissible mid-trial summation and the improper

presentation of misleadingly incomplete portions of exhibits, the government’s approach is also

prejudicial because its proposed summaries inaccurately reflect even those portions of the chat

communications they purport to summarize. See Bray, 139 F.3d at 1110 (“[A] summary

document ‘must be accurate and nonprejudicial,’” meaning that the “information on the

document summarizes the information contained in the underlying documents accurately,

correctly, and in a nonmisleading manner. Nothing should be lost in the translation.”) (citation

omitted).

         For example, the government identified Government Exhibit 28Z as a summary of two

transactions that occurred on April 21, 2013: (1) Nomura’s purchase of a bond known as BCAP

2012-RR12 4A2 from one counterparty, Putnam; and (2) Nomura’s sale of that same bond to

another counterparty, Arlington. Zachary Harrison was trading on behalf of Putnam, and J.M.

was trading on behalf of Arlington.10 Through the use of selective editing, the government’s

summary chart suggests that J.M. bid 65 for the bond at issue (“Think you get the bonds at 65 to

me?”). The chart further suggests that, following J.M.’s alleged bid, he engaged in no further

discussions with Nomura:




10
  Initials are used and excerpts of chats have been redacted herein, where an individual’s full name does not already
appear in the government’s trial memorandum.

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                 SELLER                                PETERS / O'CALLAGHAN                                       BUYER
  TIME       Harrison (Putnam)                To Seller (Peters)               To Buyer (O'Callaghan)           J.M. (Arlington)
14:47:28                                                                    we now have 65-00 offer (to us)
                                                                                                              Think you get the
14:50:26
                                                                                                              bonds at 65 to me?
                                                                           yeah, I asked Tyler that, don't
                                                                           want to short it to you, but I
                                                                           think there's a good shot we can
                                                                           get him down a bit and print you
14:51:18                                                                   there
15:54:14                               I can pay you 64 on the BCAP
                                       might get a few ticks higher
15:54:34                               but I don't think 64-16 is in the
                                       cards right now
15:56:01       guy is 64+pot best?
15:57:33                               has not said best
                                       but that’s the bid to you right
15:57:51
                                       now
            what is the vig? just so
            I can put my last offer
           on same terms. I wanna
15:59:39              counter again
                                       haven't discussed exactly how
                                       much. in the past this guy is
                                       usually 1/4-1/2 pt for re-remic
16:01:57                               mezz out of comp
            doesn't matter I guess.
              lets assume 8 tics so
           my last offer was 64-24
                             to me,
16:02:18    can show 64-16 to me
                                       64-04...think that is going to
16:11:47
                                       be best right now
           I really do think this is
           cheaper than the 2 rere
              I have just sold but I
            won't let 12 tics get in
                the way. Ty for the
16:20:04     work this lets print it
16:22:36                               we buy @64-04
16:24:52                               BUY AT 64-04
16:33:53                                                                                   SALE AT 65-04



              When one looks at the underlying chats, however, it becomes clear that the government

     has omitted important portions of the negotiation. Immediately after, J.M. questions whether he

     “can get the bonds at 65”, the Nomura salesperson asked him to clarify his bid. J.M. never did

     so. Instead, there is a 22-minute gap in the conversation, after which J.M. says only that he is

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“[s]tepping off for a coup[l]e minutes.” Thus, the price at which he would agree to buy the

bonds was still unclear:

                                                       J.M.
                   J.M.




                                                      J.M.
                  J.M.




       This critical portion of the exchange appears nowhere in the government’s proposed

exhibit. Instead, the government carefully edited the chart to tell only the simple (and

inaccurate) story it wants to jury to believe: that Arlington bid 65 for the bond. In doing so, the

government omits the remainder of the conversation, in which Nomura questions whether

Arlington, in fact, was willing to pay that price. While the parties may argue about the

significance of that omitted exchange, the jury should not be presented with an exhibit that

summarily pretends it never happened.

       Proposed Government Exhibit 23Z provides another example of the misleading nature of

the government’s proposed charts. The government argues that the Government Exhibit 23

series demonstrates the necessity of piecing together six different exhibits related to the GSAA

2006-9 A2 bond transaction on January 19, 2012. See Gov. Tr. Mem. at 12-15 and n.5. In


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connection with this trade, the evidence will show that Keri Anisgarten, the representative of the

alleged victim counterparty Third Point, herself misrepresented her acquisition price in an earlier

trade to Nomura at the outset of the negotiations with salesperson Conor O’Callaghan. In GX

23C (a 24-page chat between O’Callaghan and Anisgarten), Anisgarten represents that she

previously paid “38-00 to us” for the bond and adds the following rhetorical flair, “So 37 and

change and then paid the guy.” In fact, the evidence will show that Third Point previously

purchased the bond at 39-12. The government’s proposed summary chart (GX 23Z)

misleadingly omits a substantial portion of this exchange. Similarly, in GX 23D (a 10-page chat

between O’Callaghan and defendant Tyler Peters), Mr. Peters notes that he has learned that the

bond actually traded near 39 and remarks to Mr. O’Callaghan that Ms. Anisgarten is lying to

Nomura. Again, the government omits this exchange from its proposed summary chart. In sum,

GX 23Z skips over approximately 21 minutes of relevant conversation, selectively highlights

portions of the conversation that are favorable to the government’s case, and omits sections that

are relevant to the defense.

       The examples above merely provide but two instances of the bias inherent in all of the

government’s proposed summary charts. The charts omit many statements that would bolster the

defense case at trial, and, importantly, do not even indicate where a substantial number of

statements have been omitted. This is akin to a party splicing together excerpts of a witness’ past

sworn statements and offering them as an accurate summary of his testimony. The charts are

inherently biased, misleading, incomplete, and outside the bounds of what Rule 1006 permits.




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III.     THE GOVERNMENT’S PROPOSAL TO ADMIT EXHIBITS THROUGH
         WITNESSES WHO CANNOT AUTHENTICATE THE DOCUMENTS IS
         IMPROPER AND SHOULD NOT BE PERMITTED


         The government also seeks to inject argument into the presentation of its testimonial and

documentary evidence by proposing that it be permitted to offer “relevant exhibits” into evidence

during the testimony of witnesses who have no personal knowledge of the contents of the

exhibits in order to elicit the witnesses’ “reaction” to those documents. See Gov’t Tr. Mem. at

26. This is plainly improper and should not be permitted.11

         The government explains that it would like to use this technique to ask a counterparty

victim-witness about his or her “reaction” to the contents of a communication in which he or she

was not a participant and of which he or she had no contemporaneous knowledge. See Gov’t Tr.

Mem. at 25-26. Such a question would be highly objectionable under Rule 602 of the Federal

Rules of Evidence and should not be permitted by the Court, as it will effectively present the

counterparty witness with an improper hypothetical – e.g., “If you had known this information at

the time, what would your reaction have been?” – and can only result in an answer that is based

on speculation. See Fed. R. Evid. 602 (“A witness may testify to a matter only if evidence is

introduced sufficient to support a finding that the witness has personal knowledge of the

matter.”).

         In addition, as will be well established through witness testimony at trial, the Nomura

traders acted in the capacity of a principal and were under no obligation to reveal the substance

of their negotiations with a counterparty on one side of a particular trade with Nomura (e.g., a

sale) to a counterparty negotiating a separate trade with Nomura (e.g., a purchase). Thus,


11
  The defendants do not necessarily object to the government’s proposal that the parties agree upon the authenticity
of all or most of the parties’ exhibits prior to trial, but do object to the government’s use of those “pre-authenticated”
exhibits with witnesses who could not themselves provide a proper foundation to authenticate the exhibits.

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questioning a purchasing counterparty witness about his or her reaction to negotiations between

Nomura and a selling counterparty in connection with a particular trade misleadingly suggests to

the jury that the purchasing counterparty had a right to obtain such information. This is wrong

factually.

        Take, for example, the circumstance where Nomura represented to a counterparty

interested in purchasing an RMBS from Nomura that a counterparty interested in selling the

same RMBS to Nomura was offering a bond at 62 when, in fact, the offer was 60. The

government assumes, incorrectly, that Nomura was obligated to reveal the actual price – 60 – at

which the selling counterparty was offering the bond under the theory that once Nomura spoke it

had a duty to speak truthfully. But even if Nomura had a duty to speak truthfully – which the

defense submits is not the case with respect to immaterial statements made during trade

negotiations – Nomura could have truthfully stated that it was Nomura (not the selling

counterparty) who was offering the bond to the purchasing counterparty at 62, without revealing

anything about the price at which Nomura could obtain the bond from the selling counterparty.

Indeed, the evidence will show that this is how Nomura often negotiated trades. Thus, to permit

the government to ask a third party hypothetical questions about a transaction in which it did not

participate could potentially be very confusing to the jury.

        The government’s proposal is – like its proposed use of summary charts – another

improper attempt to argue to the jury the merits of its case prior to summation. The government

seeks to put before witnesses documents about which the witnesses have no personal knowledge,

with the goal of eliciting “reactions” that are purely speculative, unsupported by the evidence, all

to unfairly prejudice the jury against the defendants. The proper moment to juxtapose two

transactions, as the government seeks to do, and to present what is in essence an argument about



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the inference to be drawn from that evidence, is during summation. At that point, the defense

will have the opportunity to present its own analysis of the evidence and to argue to the jury that

they should reject the inference proposed by the government. To allow the government

essentially to argue to the jury during its case-in-chief, as it is proposing, would upend the

normal and proper structure of a criminal trial, grossly prejudicing the defendants and

compromising the integrity of the jury’s verdict. See Yakobowicz, 427 F.3d at 150 (noting that

“[t]he traditional order of events at a criminal trial . . . has numerous purposes” including “to

enable juries to avoid forming opinions before the close of evidence and deliberations,” and

“[t]hose goals require that a distinction between evidence and argument be observed until

summations”).

IV.    THE SKADDEN REPORT IS ADMISSIBLE IMPEACHMENT EVIDENCE
       PURSUANT TO FEDERAL RULES OF EVIDENCE 608(B) AND 403

       Putnam Investments was Nomura’s counterparty in 11 of the 20 RMBS transactions the

government intends to prove at trial. For each of those transactions, a single trader – Zachary

Harrison – acted as Putnam’s representative. As to the trades at issue, Mr. Harrison is the only

Putnam employee to have communicated with the defendants, and Mr. Harrison is the only

current or former Putnam employee whose name appears on the government’s witness list. As

the government has chosen to make Mr. Harrison the centerpiece of its case, it is hardly

surprising that the government would like to shield Mr. Harrison from effective cross-

examination.

       To that end, the government’s motion seeks to prevent the use on Mr. Harrison’s cross-

examination of a report prepared at Putnam’s direction by its outside counsel, Skadden, Arps,




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Slate, Meagher & Flom LLP (“Skadden”) dated January 20, 2017 (the “Skadden Report”). 12

That report makes plain that Mr. Harrison himself was investigated for – and ultimately

terminated for – violating the federal securities laws and Putnam’s own policies. The

government’s application to preclude the use of the Skadden Report finds no basis in the law,

and would result in unfair prejudice to the defense. It is beyond question that the defense has the

right to cross-examine Mr. Harrison and to impeach his credibility. The Skadden Report

qualifies as proper material for cross-examination; the Court should disregard the government’s

attempt to win special protection for this particular witness.13

         A. Background: The Skadden Report

         Paradoxically, given the government’s argument, the Skadden Report has its genesis in

Mr. Harrison’s own concerns about the possible cross-examination topics he would face at the

trial of this matter. In January 2016, Putnam engaged Skadden in connection with subpoenas the

defendants served on Putnam, both in connection with this matter and a related civil action. The

Skadden Report explains that Putnam’s in-house counsel met with Mr. Harrison on several

occasions to discuss the subpoenas and, at one of those meetings, Mr. Harrison confessed to

having engaged in improper trading practices. As detailed in the report—

         when the time seemed to be approaching for Harrison’s likely testimony and
         potential cross-examination by the Nomura Defendants, Harrison disclosed that,
         when selling odd lots for liquidity purposes, he had arranged to use code words
         with brokers in order to signal that they should expect that Harrison would “have
         a good offer for them” to repurchase the securities the next day.

12
  In the alternative, the government asks the Court to force the defendants to preview any cross-examination of
Mr. Harrison that would rely on the Skadden Report. Notably, this is the only witness for whom the government has
demanded advance notice of possible topics of cross-examination.
13
  The government’s efforts to prevent the discovery and use of materials that may be used against Mr. Harrison are
not new. Indeed, the government recently opposed a defense application for a subpoena that sought materials
related to “false color” in connection with BWICs that the defense believes Mr. Harrison spread in order to negotiate
higher prices in subsequent transactions. That same application sought a subpoena that requested materials related
to possible improper trading tactics engaged in by another government witness, which the government did not
oppose.

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Skadden Report, at 10.

        After Mr. Harrison admitted to this conduct, a practice commonly known as “pre-

arranged trading” or “parking”, “Putnam terminated Harrison ‘for cause’ and advised him to

retain his own counsel to represent him in connection with the Nomura Actions.”14 Id. at 11.

Further, Putnam directed Skadden to commence an internal investigation of Putnam’s trading

practices to determine to what extent Mr. Harrison and other Putnam traders had engaged in

these improper trading practices. Id.

     The Skadden Report contains the conclusions Skadden reached as a result of that

investigation. Among other things, the Skadden Report concludes that in some circumstances

Mr. Harrison used code words to prearrange bond trades or “park” bonds; in other circumstances

where Mr. Harrison did not use code words, other factors led Skadden to conclude that, “given

his practice of prearranging trades, these trades also constitute prearrangement.” Id. at 46.

        B. The Conduct Described in the Skadden Report is Probative of Mr. Harrison’s
           Character for Truthfulness and His Credibility

        In its memorandum, the government contends that the Skadden Report does “not bear on

Harrison’s truthfulness or any other proper impeachment purpose . . . .” Gov’t Tr. Mem. at 27.

The Skadden Report falls within the category of proper impeachment material, however, because

it memorializes a number of facts probative of Mr. Harrison’s truthfulness and, more generally,

his credibility as a witness in this matter.

        First, the Skadden Report reflects that Mr. Harrison lied to investigators when first

confronted with allegations of his misconduct. In January 2016, an anonymous Putnam

employee contacted the “Putnam Ombudsman” and alleged that Mr. Harrison “had been selling


14
   The government states that Mr. Harrison “recently separated from Putnam,” a rather rose-colored way to describe
the termination of an employee for cause under circumstances that required an extensive internal investigation. Id.
at 26.

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mortgage bonds to brokers and promising the brokers that they would repurchase the bonds the

next day at a higher price . . . .” Skadden Report, at 5. When confronted, Mr. Harrison “denied

the allegations, saying . . . he never prearranged trades.” Id. at 6. Of course, only five months

later, Mr. Harrison admitted to Putnam’s in-house counsel that he had, in fact, used code words

to prearrange trades with brokers. Id. at 10. And the Skadden Report makes it clear that

Mr. Harrison only confessed to engaging in this conduct in May 2016 because he anticipated the

conduct might come to light on cross-examination. Id. Therefore, Mr. Harrison’s prior

misstatements about his misconduct belie the government’s contention that “Mr. Harrison was

the only [Putnam] trader who disclosed truthfully that he had understandings with broker-dealers

that he would repurchase the bond the following day at the price he sold the bond for plus some

small mark-up.” Gov’t Tr. Mem. at 27. Mr. Harrison lied and was belatedly truthful.

         Furthermore, Mr. Harrison’s misstatements about his improper trading practice did not

end with his May 2016 admission of misconduct. A memorandum that the government produced

to the defense reflects that, on October 27, 2016, Mr. Harrison told the government that he

“never had a prearranged agreement with anyone to buy bonds back after selling them.” This,

too, is false, and is directly contradicted by the Skadden Report.15

         The Skadden Report falls squarely into the category of proper impeachment evidence

under the Federal Rule of Evidence. Rule 608(b) provides that, while specific instances of a

witness’s conduct may not be proved by extrinsic evidence, they may be addressed on cross-

examination if those instances are probative of the witness’s character for truthfulness or

untruthfulness. Fed. R. Evid. 608(b)(1). The Skadden Report both memorializes Mr. Harrison’s

false statement to his employer – his initial denials of misconduct – and summarizes an

15
   The defense believes that the government did not possess the Skadden Report at the time it elicited Mr. Harrison’s
statements on the conduct that precipitated his termination from Putnam, including his stated denial that he
prearranged trials.

                                                         22
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investigation that contradicts those false statements. This is clearly probative of Mr. Harrison’s

“character for truthfulness,” and therefore within the broad bounds of proper cross-examination

under Rule 608. See United States v. Cedeno, 644 F.3d 79, 82 (2d Cir. 2011) (“While a district

court may impose ‘reasonable limits’ . . . it must also give ‘wide latitude’ to a defendant in a

criminal case to cross-examine government witnesses”).

       Second, the Skadden Report would undercut the credibility of any testimony that

Mr. Harrison would offer regarding the materiality of the defendants’ alleged misstatements. At

core, the government asserts that defendants’ alleged misstatements caused counterparties –

including Putnam – to buy bonds at prices higher than that which they would have otherwise

bought, and to sell bonds at prices below that at which they otherwise sold. The statements were

material, the government suggests, because counterparties – including Putnam – always acted in

a manner to maximize value for their investors. The Skadden Report casts doubt on that notion,

concluding that Mr. Harrison knowingly and willingly engaged in conduct that may have caused

internal funds at Putnam to pay an additional amount of approximately $830,000 to repurchase

bonds– hardly the actions of someone for whom maximizing value was priority number one. Id.

at 2, 42. The defense should be permitted to cross-examine Mr. Harrison regarding this matter

which is central to the issue of the materiality of the defendants’ alleged misstatements.

       C. The Skadden Report Will Not Confuse the Issues for the Jury

       The government suggests that “[t]he highly technical nature of the information in the

Skadden Report would likely confuse the issues for the jury.” Gov’t Tr. Mem. at 28. This claim

is unfounded. The findings set forth in the Skadden Report certainly are no more confusing or

complicated than the plethora of complex, highly technical evidence that the jury will inevitably

be presented with at trial. See United States v. Blum, 62 F.3d 63, 68 (2d Cir. 1995) (holding that



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the district court abused its discretion where it excluded evidence central to defense theory on

basis it would confuse jury, noting “given the importance of the testimony to the defense,

whatever confusion that may have resulted from its admission would have to have been

overwhelming to satisfy Rule 403’s balancing test”) (quoting United States v. Harvey, 547 F.2d

720, 723 (2d Cir. 1976)) (internal quotation marks omitted).

V.     THERE IS NO BASIS TO PRECLUDE DEFENSE COUNSEL FROM
       REFERRING TO DEFENDANTS’ PERSONAL LIVES DURING OPENING
       STATEMENTS OR CLOSING ARGUMENTS

       Without any legal support, the government makes the novel request that “no references to

defendants’ personal lives should be made during any jury addresses.” Gov’t Trial Memo. at 29.

This is a flagrant effort to constrain defendants from defending themselves by providing proper

background and context to the jury, and to prevent defendants from outlining the facts and

rebutting the government's evidence at trial. This request is contrary to commonly accepted trial

practice, is unsupported by legal authority, and should be rejected.

       “[C]ounsel is accorded broad latitude in opening statements.” 2 Lane Goldstein Trial

Technique § 10:5 n.12 (collecting cases); see also Michael Walsh, Prosecutor’s Reference in

Opening Statement to Matters Not Provable or Which He Does Not Attempt To Prove as Ground

for Relief, 16 A.L.R.4th 810 (“Although the right to make an opening statement is subject to the

control of the court, which in its discretion may properly limit its scope, traditionally much

latitude has been allowed counsel in that regard.”). During openings, parties are typically

permitted to refer to any relevant evidence that is likely to be admitted during the trial. Providing

basic education, employment, household and background information in introducing criminal

defendants to a jury is not only typical in federal and state courts, but is among the most

fundamental trial techniques used to present individuals accused of crimes as human beings who


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make decisions based on their individual experiences. In closing argument, defense counsel is

permitted – indeed is required – to answer statements made in the government’s case, point out

defects in the credibility of the government’s witnesses, and sum up the facts favorable to his or

her client.

          In this case, intent is an element of all the offenses charged, and the jury will be asked to

evaluate the reasons for the decisions made by each defendant. Indeed, the government has

already announced its intention to argue that greed and the desire to increase their compensation

motivated defendants’ conduct. But it would be misguided for the jury to hear only the

government’s view of this case, i.e., that defendants’ entire lives consisted of going to work,

motivated by greed, and committing crimes. That is false. It would be equally misleading to

allow the government to introduce evidence of defendants’ personal backgrounds, including

education, employment and financial means, to advance its case, but to deny defendants the

opportunity to rebut such arguments with background and context of the defendants’ lives.

Allowing only the government to choose what background and experience of the defendants can

be considered by the jury will present a one-sided, obscured lens through which to evaluate

intent.

          In addition, witness statements provided by the government in discovery suggest that

certain of the government’s counterparty witnesses may testify that they “trusted” the defendants

based on, among other things, their social interaction with defendants. And the government’s

cooperating witnesses – former Nomura employees – will likely testify that they felt required to

“obey” the defendants’ trading instructions or risk losing their jobs. In light of this anticipated

testimony, background and context for the relationships between these witnesses and the




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defendants, including the witnesses’ knowledge of, and involvement in, defendants’ personal

lives,16 is particularly relevant and necessary to test their credibility regarding these allegations.

        The defense does not intend to reference background information in order appeal to the

sympathy of jurors or make prejudicial or inflammatory remarks. Rather, we intend to use it to

help the jury test the credibility of the government’s evidence by allowing jurors to understand

the context within which the events at issue took place. This context is all the more important

given that the defendants’ intent is an element of the crimes charged. Accordingly, the

government’s request should be denied, and the defendants should be permitted to present

relevant personal information, as courts routinely allow.

        For these reasons, defendants respectfully submit that (i) the government’s supplemental

submission regarding defendants’ motions in limine is deficient, and defendants’ motions in

limine should be granted; (ii) the government’s proposed summary charts should be precluded;

(iii) the government should not be permitted to admit exhibits through witnesses who lack

personal knowledge of the contents; (iv) government’s application to preclude the use of the

Skadden Report should be denied; and (v) the defense should be permitted to refer to defendants’

personal lives when addressing the jury.




16
   Moreover, proposed exhibits on the Government’s Exhibit List include information about defendants’ personal
lives, which the government apparently seeks to introduce into evidence. See, e.g., GX 29F (proposed government
witness Harrison Choi discusses Michael Gramins’ upcoming Thanksgiving plans with his wife).

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                                    Respectfully submitted,

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                               CERTIFICATE OF SERVICE

       I hereby certify that on April 6, 2017, a copy of foregoing Defendants’ Memorandum of

Law in Opposition to the Government’s Omnibus Trial Memorandum and Supplemental

Submission Regarding Motions In Limine was filed electronically and served by mail on anyone

unable to accept electronic filing. Notice of this filing will be sent by e-mail to all parties by

operation of the Court’s electronic filing system or by mail to anyone unable to accept electronic

filing as indicated on the Notice of Electronic Filing. Parties may access this filing through the

Court’s CM/ECF System.

Dated: New York, New York
       April 6, 2017

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